             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-24    Filed 05/07/25    Page 1 of 2




                                                      Exhibit 24
                        Designations of Deposition Testimony of Andrew Murr (June 22, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
        11:9                   11:14
       14:4                     14:9
       14:14                   14:15
       14:18                   14:22
       15:2                    15:16
       21:1                     21:3
       21:16                   21:22
       24:10                   24:12
       37:10                    38:5
       38:12                   40:13
       40:20                   40:25
       41:20                   42:16
       69:15                    70:3
       70:12                   70:16
       74:21                   74:22
       74:23                    75:2
       79:18                   80:21
       81:5                    81:14
       82:6                    82:11
       82:15                    83:4
       93:23                   94:15
       94:21                   95:19
       97:12                   97:24
       99:5                     99:7
       101:4                   101:8
      101:24                  102:10

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             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-24   Filed 05/07/25    Page 2 of 2




              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
      104:18                   104:23
        106:1                   106:5
      108:22                   109:16
       110:10                   111:2
       115:17                  115:25
       125:11                  125:21
        129:1                   129:2
        132:3                   133:2
      135:22                   136:10
      142:18                   142:22
      150:20                    151:1
        151:8                   152:9
      152:13                   152:22
        153:8                  153:15
        154:1                  154:21
        155:6                  155:18
        158:8                  158:23
       160:11                  160:14




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